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                            EXHIBIT 3
Case 1:24-cv-01355-JDW                                                           Document 12-3                                  Filed 03/03/25                             Page 2 of 3 PageID #: 907



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                                                                                                                                         Solutions             Products           Services               Knowledge               search     language




Advancing Connected Care            Products     The CAM Patch: Ambulatory ECG Monitor




                                                                                                                             Baxter
                     zoom_out_map



                                                                                                                             CAM Patch
                                                                                                                             The CAM Patch is a long-term ambulatory ECG monitor that has been clinically
                                                                                                                             proven to identify arrhythmias. It is engineered to optimize p-wave signal capture,
                                                                                                                             which enables differentiation between different types of atrial, as well as
                                                                                                                             ventricular, arrhythmias¹ ². The CAM's simple design allows for ease of application
                                                                                                                             and its clinical portal helps streamline clinician workflow.

                                                                                                                             Learn more about the CAM Patch solution .


                                                                                                                                Request More Information




                                                      Education &
           Overview                                  Documentation                         Customer Support
The Carnation Ambulatory Monitor, or CAM Patch previously branded as BardyDx, is now a part of the Baxter diagnostic cardiology
portfolio.

   The CAM Report provides full disclosure for the entire wear time and differentiates significant SVTs, including AF, AFL, AT, AVRT, AVNRT, and PAC.

   The BadyDx AI engine has 96% sensitivity, 99.86% specificity, and 99.79% positive predictivity for detecting 30 seconds of AF or longer.³

   Every CAM Report is analyzed by at least two certified ECG technicians based in the United States and has a >99.5% physician agreement rate.⁴

   The CAM monitor can be uploaded using the BDx download station at the clinical site to expedite report processing.




                                                                                                         BDxConnect is the companion patient
                                                                                                         management system to the CAM Patch
                                                                                                         With BDxConnect, you will be able to:

                                                                                                             Manage full visibility into CAM Report status from data upload to report generation

                                                                                                             Register streamlined and efficient data entry for quick patient registration

                                                                                                             Review tailored report annotations and instant report generation

                                                                                                             Review real-time report corrections

                                                                                                             Customize the workflow to fit your needs
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The CAM Report provides greater
context for informed-decision
making
Some of the CAM Report benefits are:

    Clarity on the actionable diagnosis with unique multiple field views

    Full disclosure for quick, in-depth interpretations

    Reports are provided in PDF format and available through BDxConnect




Recommended Products



        ELI 380 Resting                                  ELI 280 Resting                                Q-Stress Cardiac                              Diagnostic Cardiology                                  Cardio Server
      Electrocardiograph                               Electrocardiograph                            Stress Testing System                                  Suite ECG




References


1. CAM vs Holter: Smith W, et al. Comparison of diagnostic value using a small single channel, P-wave centric sternal ECG monitoring patch with a standard 3-lead Holter system over 24 hours. American Heart Journal. 2026.
2. CAM vs Zio: Rho R, et al. Comparison of two ambulatory patch ECG monitors: The benefit of the P-wave and signal clarity. American Heart Journal. 2018.
3. Paris D., et al. Atrial Signal Clarity Is Critical If Artificial Intelligence (AI) Is To Be Used To Distinguish Atrial Fibrillation (AF) From Rhythms That Mimic AF. European Journal of Arrhythmia & Electrophysiology. Abstr38, 2020.
4. Statistics based on internal data on file.


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